              Case 1:20-cr-00330-AJN Document 61 Filed 10/06/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - x
                                                                    :
 UNITED STATES OF AMERICA,                                          :          AFFIDAVIT OF CERTIFICATION
                                                                    :          PURSUANT TO LOCAL
                                - v. -                              :          CRIMINAL RULE 16.1
                                                                    :
  GHISLAINE MAXWELL,                                                :          20 Cr. 330 (AJN)
                                                                    :
                                          Defendant.                :
                                                                    :
 - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - x

STATE OF NEW YORK             )
COUNTY OF NEW YORK            :                                         ss.:
SOUTHERN DISTRICT OF NEW YORK )

         MAURENE COMEY, pursuant to Title 28, United States Code, Section 1746, hereby

affirms under penalty of perjury:

         1.        I am an Assistant United States Attorney in the Office of Audrey Strauss,

Acting United States Attorney for the Southern District of New York. I am one of the Assistants

who represents the Government in these proceedings.

         2.        I certify pursuant to Local Criminal Rule 16.1 that the Government has conferred

in good faith with counsel to the defendant, Ghislaine Maxwell, regarding the Government’s

request to delay disclosure of certain materials to the defense, pursuant to Federal Rule of Criminal

Procedure 16, and that the parties have been unable to reach agreement.

         3.        In particular, the Government has asked defense counsel whether they will consent

to delayed disclosure of certain materials related to victims who were abused by Jeffrey Epstein

outside the period charged in the Indictment in this case (the “Materials”). Defense counsel has

indicated that they will not consent to delayed disclosure of the Materials and that they intend to
            Case 1:20-cr-00330-AJN Document 61 Filed 10/06/20 Page 2 of 2




file an opposition to any motion by the Government seeking authorization to delay disclosure of

the Materials.

       4.        I hereby certify that the foregoing statements made by me are true.


Dated: New York, New York
       October 6, 2020

                                               _________________________
                                               Maurene Comey
                                               Assistant United States Attorney
                                               Telephone: (212) 637-2324




                                                  2
